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14
                               UNITED STATES DISTRICT COURT
15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                 Plaintiff,                     [PROPOSED] ORDER CONTINUING TRIAL
18                                              DATE AND FINDINGS REGARDING
                       v.                       EXCLUDABLE TIME PERIODS PURSUANT
19                                              TO SPEEDY TRIAL ACT
      MICHAEL JOHN AVENATTI,
20                                              CONTINUED TRIAL DATES:
                 Defendant.                       July 26, 2022 (Counts 1-10)
21                                                February 21, 2023 (Counts 11-36)
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24          The Court has read and considered the Government’s Ex Parte

25    Application Regarding (1) Continuance of Trial Dates and (2) Findings

26    of Excludable Time Periods Pursuant to Speedy Trial Act, filed in

27    this matter on June 15, 2022.

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 1          Regarding computing the date under the Speedy Trial Act by which

 2    defendant’s trial on Counts 1 to 10 must commence, the Court finds

 3    that the time period of November 2, 2021, to July 13, 2022,

 4    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(C)

 5    because that is a period of delay resulting from an interlocutory

 6    appeal; and the period of May 4, 2022, to July 26, 2022, inclusive,

 7    should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

 8    (h)(7)(B)(i) because the delay results from a continuance granted by

 9    the Court on its own motion, without objection from defendant or the

10    government, on the basis of the Court’s finding that: (i) the ends of

11    justice served by the continuance outweigh the best interest of the

12    public and defendant in a speedy trial; and (ii) failure to grant the

13    continuance would be likely to make a continuation of the proceeding

14    impossible, or result in a miscarriage of justice; and the time

15    period of September 29, 2021, to either June 27, 2022, or the prompt

16    disposition of defendant’s motions, inclusive, should be excluded

17    pursuant to 18 U.S.C. § 3161(h)(1)(D), because it constitutes a delay

18    resulting from a pretrial motion, from the filing of the motion

19    through the prompt resolution of the motion.

20          Regarding computing the date under the Speedy Trial Act by which

21    defendant’s trial on Counts 11 to 36 must commence, the Court finds

22    that the time period of October 12, 2021, to July 13, 2022,

23    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(C)

24    because that is a period of delay resulting from an interlocutory

25    appeal; the period of October 12, 2021, to February 21, 2023,

26    inclusive, should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

27    (h)(7)(B)(i), and (h)(7)(B)(ii) because the delay results from a

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 1    continuance granted by the Court on its own motion, without objection

 2    from defendant or the government, on the basis of the Court’s finding

 3    that: (i) the ends of justice served by the continuances outweigh the

 4    best interest of the public and defendant in a speedy trial; (ii)

 5    failure to grant the continuance would be likely to make a

 6    continuation of the proceeding impossible, or result in a miscarriage

 7    of justice; and (iii) the case is so unusual and so complex, due to

 8    the nature of the prosecution, that it is unreasonable to expect

 9    preparation for pre-trial proceedings or for the trial itself within

10    the time limits established by the Speedy Trial Act; the time period

11    of May 4, 2022, to July 26, 2022, or the conclusion of the trial on

12    Counts 1-10, inclusive, should be excluded pursuant to 18 U.S.C.

13    § 3161(h)(1)(B) because the delay results from trial with respect to

14    other charges against defendant; and, to the extent the motions

15    relate to Counts 11-36, the time period of September 29, 2021, to

16    either June 27, 2022, or the prompt disposition of defendant’s

17    motions, inclusive, should be excluded pursuant to 18 U.S.C.

18    § 3161(h)(1)(D), because it constitutes a delay resulting from a

19    pretrial motion, from the filing of the motion through the prompt

20    resolution of the motion.

21          The continuances are not based on congestion of the Court’s

22    calendar, lack of diligent preparation on the part of the attorneys

23    for the government or the defense, or failure on the part of the

24    attorneys for the government to obtain available witnesses.

25          Accordingly, the Court finds that there are facts that support

26    continuances of the trial dates in this matter, and there is good

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 1    cause for a finding of excludable time pursuant to the Speedy Trial

 2    Act, 18 U.S.C. § 3161.

 3          THEREFORE, FOR GOOD CAUSE SHOWN:

 4          1.    The trial on Counts 1 to 10 of the Indictment is set for

 5    July 26, 2022, at 8:30 a.m., with the expectation that proceedings

 6    with respect to written jury questionnaires will be completed during

 7    the preceding week.

 8          2.    The trial on Counts 11 to 36 of the Indictment is continued

 9    from May 10, 2022, to February 21, 2023, at 8:30 a.m., with the

10    expectation that proceedings with respect to written jury

11    questionnaires will be completed during the preceding week.

12          3.    With respect to Counts 1 to 10 of the Indictment, the time

13    period of October 12, 2021, to July 13, 2022, inclusive, is excluded

14    in computing the time within which the trial must commence, pursuant

15    to 18 U.S.C. § 3161(h)(1)(C); the time period of May 4, 2022, to July

16    26, 2022, is excluded in computing the time within which the trial

17    must commence, pursuant to 18 U.S.C. §§ 3161(h)(1)(B), (h)(7)(A), and

18    (h)(7)(B)(i); and the time period of September 29, 2021, to either

19    June 27, 2022, or the prompt disposition of defendant’s motions,

20    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(D).

21          4.    With respect to Counts 11 to 36 of the Indictment, the time

22    period of October 12, 2021, to July 13, 2022, inclusive, is excluded

23    in computing the time within which the trial must commence, pursuant

24    to 18 U.S.C. § 3161(h)(1)(C); the time period of October 12, 2021, to

25    February 21, 2023, is excluded in computing the time within which the

26    trial must commence, pursuant to 18 U.S.C. §§ 3161(h)(1)(B),

27    (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(ii); the time period of May 4,

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 1    2022, to July 26, 2022, or the conclusion of the trial on Counts 1-

 2    10, inclusive, should be excluded pursuant to 18 U.S.C.

 3    § 3161(h)(1)(B); and the time period of September 29, 2021, to either

 4    June 27, 2022, or the prompt disposition of defendant’s motions,

 5    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(D),

 6    to the extent the motions relate to Counts 11-36.

 7          5.    Defendant shall appear in Courtroom 10C of the Ronald

 8    Reagan Federal Building and U.S. Courthouse, 411 West Fourth Street,

 9    Santa Ana, California on July 26, 2022, at 8:30 a.m., and on February

10    21, 2023, at 8:30 a.m.

11          6.    Nothing in this Order shall preclude a finding that other

12    provisions of the Speedy Trial Act dictate that additional time

13    periods are excluded from the period within which trial must

14    commence.    Moreover, the same provisions and/or other provisions of

15    the Speedy Trial Act may in the future authorize the exclusion of

16    additional time periods from the period within which trial must

17    commence.

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19          IT IS SO ORDERED.
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        DATE                                     HONORABLE JAMES V. SELNA
23                                               UNITED STATES DISTRICT JUDGE

24    Presented by:
25         /s/
       BRETT A. SAGEL
26     RANEE A. KATZENSTEIN
       Assistant United States Attorneys
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